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                                CERTIFICATE OF SERVICE

       I certify that on this 23rd day of July 2024, I electronically filed the foregoing document
with the U.S. District Court. Notice will automatically be electronically mailed to the following
individuals who are registered with the U.S. District Court CM/ECF System:
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                                                  /s/ Christina M. Hesse                  ____
                                                  Christina M. Hesse




DECLARATION OF JOHN MAY, M.D., F.A.C.P., IN FURTHER RESPONSE TO
PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER, PROVISIONAL
CLASS CERTIFICATION, AND PRELIMINARY INJUNCTION BY DEFENDANT
CENTURION OF IDAHO, LLC - 4
